        Case 7:15-cr-00176-KMK Document 436 Filed 01/12/21 Page 1 of 1
        Case 7:15-cr-00176-KMK Document 437 Filed 01/12/21 Page 1 of 1



                                                 U.S. Department of Justice

                                                 United States Attorney
                                                 Southern District of New York

               MEMO ENDORSED
                                                 The Silvio J. Mollo Building
                                                 One Saint Andrew' s Plaza
                                                 New York, New York 10007


                                                 January 12, 2021

BYECF
The Honorable Kenneth M. Karas
United States District Court
Southern District ofNew York
300 Quarropas Street
White Plains, New York 10601

              Re:           United States v. Victor Esteban, et al., 15 Cr. 176 (KMK)

Dear Judge Karas:

      Please be advised that I am leaving the United States Attorney's Office for other
employment. Accordingly, please remove me as counsel ofrecord in the above-captioned case.
Thank you very much for the Court's consideration.



                                                 Respectfully submitted,

                                                 AUDREY STRAUSS
                                                 Acting United States Attorney

                                          By:    Is Douglas S. Zolkind
                                                 Douglas S. Zolkind
                                                 Assistant United States Attorney
                                                 (212) 637-2418




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